       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:


    1. David Brandon Cannady
       v. Commonwealth of Virginia
       Record No. 0810-21-3
       Opinion rendered by Judge Callins on
        November 9, 2022

    2. William Adam Boyd
       v. Constance Weisberg
       Record No. 0029-22-1
       Opinion rendered by Judge Athey on
        November 15, 2022

    3. Peter Timothy Gionis
       v. Commonwealth of Virginia
       Record No. 1197-21-3
       Opinion rendered by Judge Beales on
        November 22, 2022

    4. Patrick Edward Cornell
       v. Commonwealth of Virginia
       Record No. 1381-21-2
       Opinion rendered by Judge O’Brien on
        November 22, 2022

    5. Michael Charles Hogle
       v. Commonwealth of Virginia
       Record No. 0027-22-3
       Opinion rendered by Senior Judge Petty on
        November 22, 2022
The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:


1. William Joseph Morgan
    v. Commonwealth of Virginia
    Record No. 1139-20-1
    Opinion rendered by Judge Huff on
     October 5, 2021
    Judgment of Court of Appeals reversed and final judgment entered dismissing
    conviction by opinion rendered on December 29, 2022 (211033)

2. Virginia Manufacturers Association, et al.
   v. Ralph S. Northam, etc, et al.
   Record No. 0316-21-2
   Opinion rendered by Judge O’Brien
    on December 7, 2021
   Refused (220077)

3. Jovan Anthony Ali
    v. Commonwealth of Virginia
   Record No. 0434-21-4
    Opinion rendered by Chief Judge Decker
     on May 13, 2022
    Refused (220393)

4. Clifton Thomas Jacks
   v. Commonwealth of Virginia
   Record No. 0833-20-3
   En Banc Opinion rendered by Judge Huff
     on May 17, 2022
   Refused (220354)

5. Jessie Lee Green
    v. Commonwealth of Virginia
   Record No. 0759-21-1
    Opinion rendered by Judge Beales
      on June 14, 2022
     Petition for appeal withdrawn (220458)

6. William O. Flannagan, Jr.
   v. Commonwealth of Virginia
   Record No. 093-21-2
   Opinion rendered by Judge AtLee
    on August 16, 2022
   Dismissed pursuant to Rule 5:14(a) (220582)
